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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                         WAYCROSS DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )     CASE NO: 5:21-CR-009-20
                                             )
BRETT DONAVAN BUSSEY,                        )
                                             )
            Defendant.                       )


          GOVERNMENT’S RESPONSE TO SECOND MOTION
      FOR EXTENSION OF TIME FOR DEFENDANT BRETT BUSSEY
             TO FILE EXPERT WITNESS DISCLOSURES

      The United States has no objection to Defendant Brett Bussey’s Second Motion

for Extension of Time to File Expert Witness Disclosures. Doc. 934.

                                      Respectfully submitted,

                                      JILL E. STEINBERG
                                      UNITED STATES ATTORNEY

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